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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

LISA KWESELL, CHRISTINE                      :
TURECEK and JASON SCHWARTZ,                  :      CASE NO: 3:19-cv-01098-KAD
individually and on behalf of all others     :
similarly situated,                          :
                                             :
                      Plaintiffs,            :      NOVEMBER 1, 2019
                                             :
vs.                                          :
                                             :
YALE UNIVERSITY,                             :
                                             :
                      Defendant.             :


      MOTION ON CONSENT TO RESCHEDULE THE RULE 16 CONFERENCE

       Defendant, Yale University, moves on consent for rescheduling of the Rule 16

conference currently scheduled for November 20. Attorneys Freiman and Rinehart both have

out-of-state arguments in other matters on November 20. Mr. Freiman has an argument in the

New York Appellate Division, First Department, in Highland Crusader Offshore Partners, L.P.,

v. Targeted Delivery Technologies Holdings, Ltd., Case Nos. 2019-305, 2019-306, 2019-312,

2019-313, N.Y. Supreme Civil Index No. 653486/2016; Ms. Rinehart has an argument before the

Second Circuit in Holcombe v. Ingredient Solutions Inc, 19-1082. The parties have conferred,

and Plaintiffs consent to the rescheduling of the conference. Subject of course to the Court’s

own availability, the Parties propose to reschedule the conference for December 2, 3, 5, or 6

(dates on which both sides are available) or on such other date as may be convenient for the
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Court. Defendant respectfully submits that there is good cause for the Court to reschedule the

Rule 16 conference.


                                                  Respectfully submitted,

                                                  /s/ Kim E. Rinehart
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